Case 6:07-cr-00107-JA-EJK Document 1471 Filed 04/04/13 Page 1 of 3 PageID 5137




                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                        ORLANDO DIVISION

    UNITED STATES OF AMERICA

    -vs-                                                           Case No. 6:07-cr-107-Orl-28GJK

    MARIA ADAMES
    ___________________________________

                                   REPORT AND RECOMMENDATION

    TO THE UNITED STATES DISTRICT COURT

              This cause came on for consideration without oral argument on the following motion filed

    herein:

                 MOTION:       MOTION TO APPEAL IN FORMA PAUPERIS (Doc. No.
                               1470)

                 FILED:      April 25, 2013
                 _____________________________________________________________

                 THEREON it is RECOMMENDED that the motion be DENIED.

              On May 27, 2008, judgment was entered against Maria Adames (the “Defendant”) as to count

    one of the indictment, conspiracy to possess with intent to distribute 5 kilograms or more of cocaine

    hydrochloride, and Defendant was sentenced to 134 months imprisonment. Doc. No. 1119.

    Defendant appealed her conviction (Doc. No. 1126), and on January 19, 2010, the Eleventh Circuit

    Court of Appeals affirmed the judgment and sentence. Doc. No. 1369. Thereafter, in Case No. 6:10-

    cv-1066-Orl-28GJK, Defendant filed a motion to vacate, set aside, or correct the sentence (the “First

    Motion”), pursuant to 28 U.S.C. § 2255. Doc. No. 1411. On March 21, 2012, the Court entered an

    order denying Defendant’s First Motion and dismissed the case with prejudice. Doc. No. 1446.
Case 6:07-cr-00107-JA-EJK Document 1471 Filed 04/04/13 Page 2 of 3 PageID 5138




           On April 5, 2012, in Case No. 6:10-cv-1066-Orl-28GJK, Defendant appealed the Court’s

    denial of the First Motion. Doc. No. 35 in 10-cv-1066. Defendant also sought leave to appeal in

    forma pauperis. Doc. No. 36 in 10-cv-1066. The Court denied Defendant’s motion to appeal in forma

    pauperis, stating that any appeal “would not be taken in good faith because [Defendant] has failed to

    make a substantial showing of the deprivation of any federal constitutional right.” Doc. No. 37 in 10-

    cv-1066. On August 27, 2012, the Eleventh Circuit Court of Appeals denied Defendant’s motion for

    a certificate of appealability as to this Court’s denial of the First Motion because Defendant failed to

    show that “reasonable jurists would find debatable (1) the merits of her underlying claim, and (2) the

    procedural issues that she seeks to raise.” Doc. No. 38 in 10-cv-1066.

           On January 22, 2013, in this case, Defendant filed a Motion to Reduce her sentence (the

    “Second Motion”). Doc. No. 1460. On February 27, 2013, the Court entered an order construing the

    Second Motion as a second or successive motion under Section 2225. Doc. No. 1466. The Court

    found that “[b]efore [Defendant] will be permitted to file a second or successive section 2255 motion

    in this Court, she must move in the Eleventh Circuit Court of Appeals for an order authorizing the

    district court to consider the motion.” Doc. No. 1466 at 2 (citing 28 U.S.C. §§ 2244, 2255). Thus,

    the Court denied the Second Motion without prejudice. Doc. No. 1466 at 3.

           On March 25, 2013, Defendant filed a notice of appeal (Doc. No. 1468), a memorandum in

    support of her appeal (Doc. No. 1469), and a motion to appeal in forma pauperis (the “Motion”) (Doc.

    No. 1470. In the memorandum, Defendant generally contends that the United States Supreme Court’s

    decisions in Lafler v. Cooper, 132 S.Ct. 1376 (2012) and Missouri v. Frye, 132 S.Ct. 1399 (2012)

    created a newly recognized and retroactive Sixth Amendment right, which is applicable to cases on



                                                      -2-
Case 6:07-cr-00107-JA-EJK Document 1471 Filed 04/04/13 Page 3 of 3 PageID 5139




    collateral review. Doc. No. 1469 at 2-7. However, “the Eleventh Circuit has held that neither Lafler

    nor Frye announced a newly recognized right that was made retroactively applicable to cases on

    collateral review.” Doc. No. 1466 at 2 (citing In re Perez, 682 F.3d 930, 932 (11th Cir. 2012)).

    Therefore, Defendant’s appeal of the Court’s denial fo the Second Motion would not be taken in good

    faith because Defendant has failed to make a substantial showing of the deprivation of any federal

    constitutional right. See 28 U.S.C. § 1915(a)(3).

           Based on foregoing, it is RECOMMENDED that:

           1. The Motion (Doc. No. 1470) be DENIED;

           2. The Court certify that the appeal is not taken in good faith; and

           3. The Court direct Defendant to pay the appellate filing fee.

           Failure to file written objections to the proposed findings and recommendations contained in

    this report within fourteen (14) days from the date of its filing shall bar an aggrieved party from

    attacking the factual findings on appeal.

           Respectfully recommended in Orlando, Florida on this April 4, 2013.




    Copies furnished to:

    Presiding District Judge
    Counsel of Record
    Unrepresented Parties
    Courtroom Deputy




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